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                                                                                     FILED
                            U ited States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION
                                                                                  CLE K, U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA §
                                                 §
ver                                              § CRIMINAL ACTION NO. 4:22cr289
                                                 S
GUY WESLEY REFFITT (1)                           §
                                      PRE-TRIAL ORDER

      This case is set for Final Pre-Trial Conference on April 3, 2023, at 9:00 a.m.
in Courtroom #105, United States Courthouse, 7940 Preston Road, Plano, Texas, at which time the
case will either proceed to Jury Selection and Trial, or a date will be set for Jury Selection and
Trial.


      The following deadlines shall apply in this case.

      February 27, 2023          Any motion to suppress evidence shall be filed with the court.



      March 13,2023              Any motion for continuance shall be filed with the court.


      March 24, 2023             Counsel for the Government shall deliver to counsel for
                                 Defendant(s) proposed jury instructions.


      March 13, 2023              Notification of a plea agreement shall be by email, hand delivery
       By 4:00 PM                or fax of a signed copy of the plea agreement and factual basis for
                                 the plea. Notification that the case will proceed to trial may be by
                                 email or telephone. After this deadline, no plea agreement will
                                 be honored by the court, and Defendant may not receive a
                                 points reduction for acceptance of responsibility.


      March 27, 2023             If the parties do not notify the Court of a plea agreement as
                                 provided above, defense counsel shall deliver to counsel for the
                                 Government any additional jury instructions desired by
                                 Defendant(s). If two or more Defendants are represented by
                                 separate counsel, their submission must be made jointly.

      March 27, 2023             Counsel for Defendant(s) and counsel for the Government shall
                                 confer to determine which jury instructions can be agreed upon.
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   March 27, 2023             Parties shall file any motions in limine and any other pretrial
                              motions.




   March 27, 2023             Counsel for the Government and counsel for the Defendant(s) shall:



         A.    Jointly file agreed upon instructions;


         B.    Each file any proposed instructions that were not agreed upon, citing the authority
               for each instruction. (Any party seeking to file proposed jury instructions after the
               deadline may do so only with leave of Court.);


         C.    Each file any objections to the other s proposed jury instructions. Objections must
               be written, specific, cite authority, and include any alternate instructions counsel
               deem more appropriate;


         D.    Each file proposed voir dire questions;


         E.    If counsel believes that a written response to a particular motion in limine is
               needed, file it as soon as possible;


         F.    Each provide the court a list of witnesses, a list of exhibits anticipated to be
               introduced during trial, and a copy of each marked exhibit. All exhibits to be used
               for trial shall be pre-marked numerically and in succession. (Groups of exhibits
               pertaining to the same subject matter, such as photos of same scene, may, at
               counsel s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.) Counsel shall
               provide the Court the original and two (2) copies of each list and marked exhibit.



    Signed this 23rd day of January, 2023.




                                                  CHRISTINE A. NOWAK
                                                  UNITED STATES MAGISTRATE JUDGE
